                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                          AT KNOXVILLE

 GEYSER DELEON,                                       )
                                                      )
                        Petitioner,                   )   Case Nos.      3:13-CR-161-PLR-HBG
                                                      )                  3:16-CV-408-PLR
 v.                                                   )
                                                      )
 UNITED STATES OF AMERICA,                            )
                                                      )
                        Respondent.                   )


                                      MEMORANDUM AND ORDER

           Before the Court now is Petitioner’s pro se motion to vacate, set aside, or correct his

 sentence pursuant to 28 U.S.C. § 2255 [Doc. 984] 1. He bases his request for relief on Johnson v.

 United States, 135 S. Ct. 2551 (2015), in which the Supreme Court held that the residual clause

 of the Armed Career Criminal Act (“ACCA”) was unconstitutionally vague [Id.]. For the

 following reasons, Petitioner’s § 2255 petition [Doc. 984] will be DISMISSED WITH

 PREJUDICE.



      I.         BACKGROUND

           In July, 2014, the Petitioner entered a guilty plea to one count of conspiracy to distribute

 and possession with intent to distribute five kilograms or more of cocaine and 280 grams or more

 of cocaine base [Doc. 308]. Based on the drug quantity inherent in his conviction, the United

 States Probation Office assigned him an offense level of 29 [Presentence Investigation Report

 Addendum], resulting in an advisory Guideline range of 120 months’ imprisonment (the




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               All citations to the record are found on the docket of case no. 3:13-CR-161.


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 mandatory minimum) when combined with his criminal history category of I [Doc. 575]. The

 Court sentenced Petitioner to 120 months’ incarceration [Doc. 600].

          Petitioner appealed, but the Sixth Circuit Court of Appeals affirmed his conviction and

 sentence on August 6, 2015 [Doc. 822]. Petitioner filed a § 2255 motion on June 20, 2016,

 asserting that the Court erroneously applied either the Armed Career Criminal Act, and/or

 Johnson to his case at sentencing [Doc. 969]. The Court found that the Motion lacked merit, and

 the Court dismissed it [Doc. 973]. The present Petition alleges the same grounds for relief.



    II.       ANALYSIS

              Petitioner’s argument that he does not possess predicate offenses sufficient to support

 his categorization as an armed career criminal under § 924(e) fails because his sentence was not

 based on the ACCA or any enhancement. 2 In fact, Petitioner was sentenced to the minimum

 time for the offense. As such, Johnson simply does not apply to his case.

          Moreover, the Motion contains a material, false statement. At paragraph number ten,

 Petitioner states that, other than the direct appeal of his judgment of conviction, he has not

 previously filed any Petition or Motion with respect to his judgment in any federal court. This is

 false, as Deleon did file a § 2255 Motion [Doc. 939] prior to the present Motion. In addition,




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           The ACCA mandates a 15-year sentence for any felon who unlawfully possesses a
 firearm after having sustained three prior convictions “for a violent felony or a serious drug
 offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).
 The statute defines “violent felony” as “any crime punishable by imprisonment for a term
 exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of
 physical force against the person of another” (the “use-of-physical-force clause”); (2) “is
 burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);
 or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to
 another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause – the residual
 clause – that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

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 Deleon’s present Motion sets forth no facts or arguments of law to support the relief requested.

 The Petitioner, in effect, just re-filed his prior Motion after it was dismissed with prejudice.



    III.      CONCLUSION AND ORDER

           For the reasons discussed, Petitioner’s § 2255 motion [Doc. 984] is hereby DISMISSED

 WITH PREJUDICE. The Court CERTIFIES that any appeal from this action would not be

 taken in good faith and would be totally frivolous. Therefore, this Court will DENY Petitioner

 leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules of Appellate

 Procedure.      Petitioner having failed to make a substantial showing of the denial of a

 constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule

 22(b) of the Federal Rules of Appellate Procedure.

           The Court also advises the Petitioner that he has filed two successive motions requesting

 the identical relief. Both motions were without merit. The Court ADMONISHES the Petitioner

 against any further motion filings on this issue.

           SO ORDERED.

           ENTER: August 8, 2016



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                                                UNITED STATES
                                                UNITED   STAATESS DISTRICT
                                                                  DIS
                                                                    STRIC
                                                                        CT JUDGE




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